              Case 8:07-cr-00137-JSM-AEP Document 135 Filed 10/24/07 Page 1 of 6 PageID 351

1   .\I>24%    (Rev 06/03 Sheer 1 - Judgment m a Criminal Case


                                UNITED STATES DISTRICT COURT
                                                       MIDDLE DISTRICT OF FLORlDA
                                                            TAMPA DIVISION

A
                                                                     JUDGMENT IN 4 CRIMINAL. CASE
i   UYITED ST,\1 ES OF AMERICA

                                                                     CASE NUMBER: 8:07-cr-137-T-30MSS
                                                                     USMNUMBER: 40409-01 8




                                                                     Defendant's Attorney: Damel L Castlllo, cja



    X pleaded guilty to count(s) TWO of the Ind~ctrnent
    -
    - pleaded h o b contendere to count(s) wh~chwas accepted by the court
    - was found gmlty oil count(s) after a plea of not gu~lty

    TITLE & SECTION                     NATURE OF OFFENSE                              OFFENSE ENDED

    21 U.S.C. $51846, 841(a)(l)         Attempted Possess~onWlth Intent to             A p d 4, 2007                     Two
    and 541(b)(l)(A)                    Dlstr~buteFlre l l o g r a m s or More of
                                        Cocame


           The defendant is senteuced asprov~dedIIIpages 2 though 6 ofth~sjudgment f i e sentence 1s unposed puisuant to the Senteiicing
    Reform Act of 1984.

    -XTheCount(s)
           defendant has been found not gu~ltyon count(s)
    -             ONE of the Inhctment 1s &snnssed on the motion of the Un~tedStates

    IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any chan$a,d
    namc. I-csiduice, or mailing address until all fines, restihltion, costs, and special assessments imposed by this judgment are fully pa@.
    If ordered to pay restitution, me defendant must notify the court and United States Attorney of any nutsrial change in economic
    cucumstances.


                                                                                       Datc of Imposlhon of Sentence OCTOBER 24,7007




                                                                                       DATE. October a 2 0 0 7
        Case 8:07-cr-00137-JSM-AEP Document 135 Filed 10/24/07 Page 2 of 6 PageID 352

A 0 245B (Re\*06/05) Shect 3. - Imprisonment (Judgment in a Criminal Case)
Ikfcndant:          R A M O S R A M IREZ-APOS'TE                                                             Judgnwnt - Page 2o t' 6




          After considering the ad\.isory sentenci~igguidelines and all of the f'actors identified in Title 18 L'.S.('. $5
3553(a)(l)-(7). the court finds that the sentence imposed is sofficient, but not greater than necessary, to comply with
t h e statntol-y purposes of sentencing.


         'The defcntlant is bcreby c o n m i t t e d to the custody of the United States Bureau ot'Prisonc lo be imprisoned for
a total term of' O-UE HUXDItED and TWENTY (120) MOSTHS as to Count Two oftlic Indictment.




 X The coud makes the following rcconm~endationsto the Bureau of I'risons: The Court recommends confinement at a
con-ectional institution located in Florida. The Court advises the Bureau of Prisons of the Defendant's medical conditions
of Cirrosis and 1lep:ititis C' and requests that the Defendant be given whatever medical h-sat~nent
                                                                                                  the Bureau ofprisons deems
appropriate. Thc Defend:tnr shall participate in the 500 110~11-intensive drug treatment program while incarcerated.



-
X Thc defendant is remanded to the ci~stodyof the Lnitecl Statcs Marshal.
- The defendant shall surrender to the United Stares h~larshalfor this district.


          - at - a.n~.!p.n~.on -.
          - ;ISnotiiied by tlic United States M~~rshal.



          - bcforc 2 p.111.on -.
          - as noritied by thc United States Marshal.
          - as notified by thc Probation or Prcn.ir!l Services Officc.




                                                                         KETI:RS

          I have cxecuted this judgmsnt as follo\vs:




          Defmdant dtllvercd on                                                 to
- at                                                                     . with a certified copy oi'this judgment.


                                                                                     United Stales Marshal

                                                                          By:
                                                                                             Deputy United Stales \4arshal
         Case 8:07-cr-00137-JSM-AEP Document 135 Filed 10/24/07 Page 3 of 6 PageID 353
, A 0 345 B iRc\,. 1)611)5) S h x t 3 - Y u p ~ rrsed
                                                  \ Release (Jud_enlent in a C'ririi~nalCasc)

Defendant:            R.4MOY II.4 >IIREZ-APOS'rE                                                                               Judgnlcnt - Page 3o 1 . O
Case No.:             S:07-cr- I 37-T-30hlSS
                                                                 SUPERVISED 1ZELICASl.:

           U p o n rclcase from imprisonment. t h c d e f e r ~ d a n shall
                                                                      t     b e rJnsupcrviscd r e l c i ~ s efor ;I t e r m of'FIIrE (5) YE.ARS as to C o u n t
'f\vo of' the 1ridictn1e:lt.

         T h e deknd,int must report to the p1 obst ion office in tlie disrsict to ~vliiclithe dcfendanr is rcleassd \\ rrhm 72 110111-5c)l'rc.lea;t. ti 0111
the custody o f the BUI-ea.1of Prisons.

T h e defendant shall not colnnlit another federal. state, o r local crime. T h e defendant shall not unla\vfiilly possess a controlled s ~ l b s ~ a n c c .
'Ihe defendant shall refrain from a n y i ~ n l a \ ~ fuse
                                                        i l o f a controlled substance. T h e clefemlant shall submit to one drug test within 15 days
of release from imprisonmcnt and at least two periodic dnrg tesls thereafter. as detcrnlined by the court.


x
-           T h e dzfirlcailt shall not possess a f u c a s n ~destructive device, or any c ther dangerous \\*rapon.

-
X           T h e defendant shall cooperate in the collsction o f DY.4 as directed by the probation officer.



             I f this judgment imposes a fine o r restitution it is :icondition o f s u p e n i s c d re1e;ise tllat h e defendant p.iy in accordance with the
                                    s h e d of this ju,i_ement.
             Sclleclule of'P,~y~n~:nts

             Thc dcfe~idantn u t comply with the standard conditions that h.1j.e hecn adopted by this court as \ s ~ l las w ~ t hany a ~ l d ~ t ~ o l i a l
             conditions on ~ h attached
                               c        pase.



             the dcfcndant sllall riot. leave the judicial di5trict without thc permission of tlic courl or p~.obationofficer;

             tile Aef, ndL.n dial tc'po~t to ;he probatio~iott?ccr. arid shall subni~ta rrutht'ul urld complerc ivrtttcn report ii 1tI11nthe tirst f i i c d~!s of c x h
             n?o it;^:

             tlic defcndanr shall answer tr.i~thfullyall inquiries by the probation officcr and follo\v ihe instructions ol'thc probation 0ft;cc.r;

             tlic defendant shall support his or licr dupendcnts arid nieet other family I-csyonsibilitil.~;

             thc dcfcndmt shall work regularly at a I~wfuloccupation, unless exci~setlby the probation officcr for schooling: train~ng,or other
             x c e ~ t a b i crcasons;

             tlic dc.ti.rid,nr si~al!11ot'fy:hc probat ,or, or'ficer at least ten clays p:.ior to any ch,rnge in rcsiclcncs or sriiplo!:rncnr;

             thc defcndanr sliall scl'r.ain tiom c s c c s s ~ \ ~use
                                                                   c of alcohol and shall riot p i ~ r c l i ; ~~OSSCSS,
                                                                                                                 ~ ~ , USC,disrr~but~',
                                                                                                                                    or- ;~dmiri~sr~r
                                                                                                                                                 any contrc~llccl
             substance or any palaphernalia related to any coritrolled substsnces. exccpt as prescribed by a phys~clan;

             the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or ldministcrcd;

             thc defcndanr shall nor associate \\ith any persons engaged in criminal sctivrty and sh,dl not a m m a t e with m y person c o n \ l ~ c t ~o df 3
             i:lcny, unlcs; s,.arrcll permission to do so by the probation officcr;




             the dcfcndant shall notify the probation officer within seventy-two hours of bcing at-rcsted or ques~ione~l
                                                                                                                      by a law enforccmcnt officer;

             tlie dcfcndant shall not enter into :my a_rrcemcnt to act as an informcr or a special agent of a law enfot-cement agent!. without the
             pcrmrssion of the c0~11.t;and

                                             officer. the .leFendm~shall notit'y third p ~ t : c of
             as c itcc~cd3\.: 1115pi-t.~b;lti~n                                                  s risks that may Ile o~casioncilby rhc dcfcndunr's crimnal record
             or ,)er.solia 1iis:ory or charxteristlzs and sh,~llperr-i~itrhc prob~ttonol'lici.~.to r a k such ~otiticstiun::~ i n dto conlil-111the dcfi-ndanr's
             conlpli:tncc v ~ i such
                                  h    no~ificatio~lrc'q~~rsriicnt.
       Case 8:07-cr-00137-JSM-AEP Document 135 Filed 10/24/07 Page 4 of 6 PageID 354

A 0 245B (Rcv. 06/05) Sheet 3C - Supervised Releasc (Judgment in a Criminal Case)
        -

Ikl'ei~dan;:         RP J90Y K.\MIREZ-.41JONTE                                                               Judgment - Page      4 01.0
< as: l o . :        E :(IT-cr- 1 ?7-T-70h,lSS

                                           SPECIAL CONDITIOKS OF SCPEKI'ISIOIV

            The defendant shall also comply with the following additional condjtions oi'supcrviscd release:

-x          Tlic lefendmt shall participate in a suhst:~nceabuse prog-am (outpatient :~n(l'orinpatient) and follow ~eprobation officer's
             ins^-.lct~ons i r g n l i n g the ~mplcmortationof this court dircctiire. Further, ihe defendant shall bc required to contribute to [he
            c o ts~ of st n r i c ~i sc ~ such
                                          r    trcarment not to escecd an amount detei-mined rcasunable b> the P~obationOfficei's Sliding Scale fw-
            Substanx i\buse 'rrzatment Services During and upon cornpl.~t~on               of this program. the defendant is di~ectsiito subinit to
            random drug tcsting.

x
-           The defendant shall cooperate in thc collection of DNA as directed by the probacim officer.


x
-           Thc mnndatol-).drug testing provisions shall apply pursuant to ihe Violent Crime Conlrol Act. The Court orders random drug
            t-.sri!ip no1 rxcecd 104 tcsts per ?sir.
                        111
        Case 8:07-cr-00137-JSM-AEP Document 135 Filed 10/24/07 Page 5 of 6 PageID 355
A 0 245B (Rev 06/05) Shccr 5 - Criminal Monetary Penalties (.luclgmcnt in a C'~-in~lnul
                                                                                     Cusc!

Defendant:          RAM OU R:\ h4 I REZ-APONTE                                                                Judgnirnt - Page 2of 6--
Case No.:           E :07-cr- 1 35-T-3OM SS

                                             CRI MIN-AL MONETAR3' PENALTIES

          The defendant must pay the total c.rimiiial monetary psnaltiels tuntles the schcdule o f pa~111cntson Shcct 6.
                              .Asscssmcnt                             Fine                          Total Restitution




-         The defelldant must make restitut~on(including co~nmunityrestitution) to the follo~\-\:mg
                                                                                                 payees in the amount l ~ s t e d
          below.
           I f the clcfendrint n ~ a k e sa part~alpayment. each payec shall receivc an approximately proportioned p q n l e n l , unless
           speclficd o:hcrwise i n thc priority orcies or pa-centage payment col~mmb t . 1 0 ~ .I lnwe\.es, p u r s ~ ~ a rt:,
           7 '
                                                                                                                          n t 18 I'.S.('. $
                         ) , n ~ ) n - t . r d x vd i c t ~ m smust be p c d before the United Statss.
           - ~ ~ o - ( ia11


Name of Payee                                     Total Loss*                   Ilcsti tution Ordered




                              Totals:             $-                            S

-          l<estitution ;mount ordered pt1rsu:mt to plea agreement $
 -         7 11: i-itf::nd, nt mu\t ; x y intcicst 011 J h i e 01 restitution of more than S2,iOo, ~ n l z s sthe restitution or fine is paid in fidl
           hclo,s tiic f.ftcc'nt11 clay after the date uf'tlle ju~lgmsnt,piissunnt to I & L1.S.C'. 3 361 ?(I). All of the payment options uti Sheet
           6 may be subjcct t \ )~wialticsfor delinql~encya n d deliult. p~rsu-lnlto 18 U.S.C. 5 36 12(9).

 -         1lie court dztesniinetl that the defendam does not 11a1.e thc ability to pay inter~stand it is ordcred tliar:

         -          the interest requirsnient is \~,aivcdfor the - fine        - restitution.

          -        the interest requirement for h e - fine - restitut~onis modified as follo~vs:


" Find~ngsfor the total amotint of losses arts reqllircd undcl C'hapturs 109.4. 1 I CI, : 1 OA, a n d I 11.-\of 7 itle 1 Q for thc ot'fcnws cornmit~ed
on or after September 13. 1404, bur bcihre April 23. 1996.
        Case 8:07-cr-00137-JSM-AEP Document 135 Filed 10/24/07 Page 6 of 6 PageID 356


D,:Se~iclnnt:        R;\h1.101\ I<A.CI I REZ-A POSTE                                                            Judgment - Page 6n f 6
C a e No.:           S:iK'-cl--l37-T-301\4SS



                                                       SCHE DUI, E OF' PYAI'YI ES'I'S



Having asscssed the dcl'endmt's ability to pay, payment ol'ths total criminal monctary penaltics arc due as i'ollo\r:s:

                     Lwnp s u n payment of $ 100.00 due immediatel>-:balance due
                               -not later than                    . or



                     Pq.mcnt to begin innned~atcly(may be colnbinccl with ,                        - I). or --       l7 below): or
                     Pa>'rnent in equal                 (e.g., \vr=eltly,111oilthl>.,quai-terljr) installmt'nts of S          o w - a pcriod
                     of'         (e.g., months 01. years), to comnence                  dajrs (e.g.. 30 or (10 days) alter t11c dale of this
                     judgment: or
                     I':~\.rnmt equal
                                ln                    (2.g.,weeltly, monthly. qilurtcrly) instLlll:nentso r S           over a period of'
                                  , (e.g., mont:is or yenrs) to cornmcnct: -                   (e g. 30 o r 60 da! s) after I-clcasc l'rom
                     iniprisonlntnt to a t u r n of supervision: or
                     Pajnlent during the term oi'supel-vised release ~villconitnencc \vithin                      (e-g..30 01- 60 days)
                     alter release 1'1-0111impl-isoriment. 'I'he court will set tlw paynlcnt plan based o n an assessment of the
                     defendant's abilit~rto pay at thnt time. or
                     Spccial ins11-uctiunsr e y - d i n g the paymenl of criminal monetary pcna lties:




Unless the court has expresslv ordered otherwise. if this judgncnl inlposes ~mprison~neilt,    payment of criminal n~onctat-y
penalties IS due during ~mprisomnent.-411 criminal monctary penalties, except those payments made through the Feclcl-a1
Bureau of' Prisons' Inmate Financial Respmsibility P r o g m , are trade LO thc clerk of the court.
'The dcft.r.d::nt ;hall rr cc i1.e credit for all ?aymerts pre~iouslymads td\\w-d :in\r cl-iminal monetary penaltlec ~ m p o ~ e d .


        Defendant and C'o-Dcfcndant Yanles and Case Numbers (including defendarit number), Total Amount. Joint and
Sevcral Amount, and comespcmding payee, if appropriate:




-            The cieli.ndmt shall pay the l'ollo\vtng court i o ~ ts):
                                                                    (
-x           'The defendant shall forfeit the defendant's interest in thc following property to the United Stales:
        The Court orders that the defendant forfeit to the United States ii~llnediatelvand vol~~ntarily    any and all assets and
property. or portions thereof, subject to forfeiture, which :\re in the possession or control oftlie defendant or the defendnnt's
rlon~inees.
1': I ~-snrssli: l i bc a )pl~c.dIn tlx Tollou Ins o r k r : ( 1 ) wessnnent. ( 2 I rcstlh~ticii131incipal. ( 3 ) lsstitutiol~Intzrcst. ( 4 ) tiinc pr~nc~p:iI,
                                                                                                                                                             (I)
tille mtercst, ( 6 )C ~ ) I I U : I U I ~ Ii+e\tituf~o:n,
                                            ~~                        :111d( 8 ) costs, inc1~3:ngC ~ J S Io I ' ; ~ r o ~ m ~and
                                                        17) peln;~lt~es.                                                      t ~ ozour.1
                                                                                                                                     ~ i costs.
